                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN




WILLIAM FEEHAN,
                      Plaintiff,
                      v.                                     CASE NO. 2:20-cv-1771-PP
WISCONSIN ELECTIONS COMMISSION,
and its members ANN S. JACOBS, MARK L.
THOMSEN, MARGE BOSTELMAN, JULIE
M. GLANCEY, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., in their official capacities,
GOVERNOR TONY EVERS, in his official
capacity,
                      Defendants.
_____________________________________________________________________________

           PLAINTIFF’S MOTION TO STRIKE DEFENDANT’S MOTION
                         FOR SANCTIONS (ECF NO. 97)
______________________________________________________________________________

    Plaintiff William Feehan, by and through undersigned counsel, respectfully requests that this

Honorable Court enter an order pursuant to Civil L. R. 7(a), striking Defendant’s Motion for

Sanctions pursuant to 28 U.S.C. § 1927. ECF No. 97. Defendant’s request for sanctions under 28

U.S.C. § 1927 is barred as a matter of law and should be struck because it is untimely and without

jurisdiction.

    Under controlling Seventh Circuit precedent, Defendant’s motion must be denied because it

was brought after all appeals were disposed. See Overnite Transp. Co. v. Chi. Indus. Tire Co., 697

F.2d 789, 793-794 (7th Cir. 1983). This Court has neither jurisdiction nor authority to entertain

Defendant’s Motion for Sanctions.

    Plaintiff commenced this action on December 1, 2020 and amended his complaint on




          Case 2:20-cv-01771-PP Filed 04/08/21 Page 1 of 3 Document 105
December 3, 2020. ECF Nos. 1, 9. The court dismissed the complaint pursuant to a motion to

dismiss on December 9, 2020. ECF No. 83. Judgment was entered on December 10, 2020. ECF

No. 85. Plaintiff filed a notice of appeal to the Seventh Circuit on December 10, 2020 and an

amended appeal on December 15. ECF Nos. 84, 90. On February 1, 2021, the Seventh Circuit

dismissed Plaintiff’s appeal with instruction to vacate this Court’s earlier decision as moot. ECF

No. 95.

    Defendant brought this motion on March 31, 2021, 112 days after the court’s Order of

Dismissal on December 9, 2020, and two months since the Seventh Circuit dismissed the appeal.

Under these circumstances, Defendant’s motion for sanctions is out of time and should be stricken

or dismissed in its entirety. Overnite Transp. Co., 697 F.2d at 793-794.

    Defendant’s motion is, in essence, a request that the Court conduct a review and issue a

decision on the merits of Plaintiff’s evidence without trial or evidentiary hearing. While the case

was pending, Defendant aggressively opposed the Court hearing the evidence at all, much less

deciding its merits. Now that the case is closed and the judgment vacated as moot, Defendant

demands that the Court decide the merits of Plaintiff’s evidence after all – not on the basis of the

evidence itself, but on the basis of newspaper articles (several of which are unavailable because

links to them are already down).

    Defendant’s request that the Court decide the merits of Plaintiff’s evidence without hearing it

affronts due process, common sense, and the very nature of the adversarial system itself.

Therefore, should the court deny the instant motion to strike despite its untimeliness and the lack

of jurisdiction or authority, Plaintiff requests the opportunity to brief the merits and is entitled to

a plenary hearing on the merits of his evidence, and the Court should hold a conference to schedule

further proceedings.



                                                  2

          Case 2:20-cv-01771-PP Filed 04/08/21 Page 2 of 3 Document 105
   For these reasons and the reasons stated more fully in the Memorandum in Support, Plaintiff

respectfully requests that this Court strike Defendant’s Motion and deny Defendant’s request for

sanctions.

    Respectfully submitted, this 8th day of April, 2021.

                                             ATTORNEYS FOR PLAINTIFF
                                             Sidney Powell
                                             Texas Bar No. 16209700
                                             Sidney Powell PC
                                             2911 Turtle Creek Blvd.
                                             Suite 300
                                             Dallas, Texas 75219
                                             (517) 763-7499
                                             sidney@federalappeals.com


                                             /s/ Howard Kleinhendler
                                             Howard Kleinhendler
                                             New York Bar No. 2657120
                                             Howard Kleinhendler, Esquire
                                             369 Lexington Avenue, 12th Floor
                                             New York, New York 10017
                                             (917) 793-1188
                                             howard@kleinhendler.com


                                             Local Counsel for Plaintiff
                                             Michael D. Dean
                                             Wis. Bar No.01019171
                                             P.O. Box 2545
                                             Brookfield, WI 53008
                                             (262) 798-8044
                                             miked@michaelddeanllc.com

                                             Daniel J. Eastman
                                             Wis. Bar No.1011433
                                             P.O. Box 158
                                             Mequon, Wisconsin 53092
                                             (414) 881-9383
                                             dan@attorneyeastman.com




                                                3

         Case 2:20-cv-01771-PP Filed 04/08/21 Page 3 of 3 Document 105
